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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X
lv!ASTR ADJUST ABLE RATE
MORTGAGES TRUST 2006-0A2, MASTR
ADJUST ABLE RATE MORTGAGES
TRUST 2007-1, AND MASTR
ADJUSTABLE RATE MORTGAGES
TRUST 2007-3,                                                          12-Civ-7322 (HB) (JCF)

                        Plaintiffs,                                    ECF Case

               -against-

UBS REAL ESTATE SECURITIES INC.,

                        Defendant.

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      Declaration of Laura Cawley in Support of Trustee U.S. Bank's Opposition to
                 UBS' s Motion for Sanctions for Spoliation of Evidence


       Pursuant to 28 U.S.C. § 1746, Laura Cawley hereby declares under penalty of
pe1jury as follows:
         1.    I am an employee of U.S. Bank National Association ("Trustee") and
respectfully submit this declaration in support of Trustee's Opposition to UBS' s Motion
for Sanctions for Spoliation of Evidence.
         2.
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      3.




      4.


      5.


      6.




Executed on July 12, 2013.




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